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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Robert Manuel Martell,                        )      Case No. 1:13-cr-018
                                              )
               Defendant.                     )

       On February 26, 2014, the court issued an order for defendant’s temporary release so that

defendant could make arrangements for his 18-month old child. On February 27, 2014, the United

States Marshal’s office advised the court that, on February 26, 2014, at approximately 9:30 p.m.,

Carrington police officers responding to a domestic disturbance call had arrested defendant and were

holding him on outstanding warrants out of Burleigh County.

       Given defendant’s current circumstances, the court on its own motion QUASHES its

February 26, 2014, order for defendant’s temporary release.

       IT IS SO ORDERED.

       Dated this 27th day of February, 2014.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
